                                          Case 2:19-cv-01068-HB Document 1 Filed 03/13/19 Page 1 of 19
    JS 44 (Rev. 06/ 17)                                                                CIVIL COVER SHEET
    The JS 44 civil cover sheet a nd th e information contained he re in _neithe r replace nor s upplement th e fil _ing and service of plead ings or ?the r papers _as reg uired ~y law, except as
    prov ided by local rules of co urt. T his fo rm, a ppro ved b y the Jud1 c1a \ Con fe ren ce of the U nned States 111 September 1974 , 1s required tor the use of the Clerk of Co urt for th e
    pu rpose of initiating th e c ivi l docket s heet. (SEE INST/WC TIO NS ON Nl:XT PAGI, OF THIS FORM.)

    I. (a) PLAINTIFFS                                                                                                        R~~-H~\)'bl'fRENTAL INC . and RYDER TRUCK RENTAL LT
              JARED L. TAYLOR                                                                                               and RYDER SYSTEM, INC. and BREAK THE FLOOR
                                                                                                                            PRODUCTIONS LLC D/B/A NUVO and NICHOLAS J. HENDERSON
        (b)   County of Re s idence of Firs t Li sted Plaintiff                 Passaic County, NJ                           County of Residence of Firs t Li s ted Defendant Miami-Dade Count , FL
                                    (!,XCU'T IN US. PLAINTIFFCASFS)                                                                                             (IN US. PIAIN1JFl: CASl:S ONI.Y)
                                                                                                                              NOTE :       IN LAND CONDEMN ATIO N CASES , USE TH E LOCATION OF
                                                                                                                                           THE TRACT OF LA DI VOLVED.


        (C)   A ttorneys (Firm Name, Address, and Telephone N11111he1)                                                         Attorneys ((f Known)
    Jeffrey A. Krawitz, Esq./Stark & Stark, a Professional Corporation
    777 Township Line Road, Suite 120, Yardley, PA 19067; 267-907-9600
    (See Attached Addendum)

    II. BASIS OF JURISDICTION (Placean                                  ·x·;11O11elioxO11lyJ                 III. CITIZENSHIP OF PRINCIPAL PARTIES 0'1acea11                                                              ··x--;no11eHoxfor1'1mn1iff
                                                                                                                         (For Dll'ers11y Cases Only)                                                               and One Box for Defe11da111)
    0   I   U.S. GovemmenJ                 0 3    Federal Question                                                                                      PTF        DEF                                                               PTF      DEF
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                                                                                                                                                                                     of Business In TI,is State

    □   2   U.S. Government                ~ 4    Di ve rsity                                                      Ci ti zen of Another State           ~   2      0     2         Incorporated and Principal Place                  0        0 5
               Defendant                            (lmhcare ( ·;11zenship of Parries 111 lrem Ill)                                                                                   of Business In Another State

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    0   I IO Insuranee                      PERSONAL INJURY                          PERSONAL INJURY              0 625 Dnig Rel ated Seizu re               0 422 Appea l 28 USC 158                              0 375 False Claims Act
    0   120 Mari ne                       0 3 10 Airplane                         0 365 Personal lnjwy -                of Pro pen y 2 1 USC 88 1            0 423 Wi th drawa l                                   0 376 Qui Tam (3 1 USC
    0   130 Miller Act                    0 3 15 Airplane Product                        Product Liabili ty       0 690 Oth er                                     28 use 151                                             3729(a))
    0   140 Negotiable lnstmment                  Liability                       0 36 7 Health Care/                                                                                                              0 400 State Reappo,1ionment
                                                                                                                                                                             , ...... ,,,,,.vn11:1-1 · ' Iii..
    0   150 Recovery of Overpayment       0 320 Assault. Libel &                         Phannaceutical                                                                                                            0 410 Antitrust
            & Enforcem ent o f Judgment           Slander                                Personal lnjrny                                                     0 820 Copyri ghts                                     0 430 Banks and Banking
    0   151 Medicare Act                  0 330 Federal Employe rs'                      Prod uct Liability                                                  0 830 Patent                                          0 450 Comm erce
    0   152 Recove,y of Defa ult ed               Liability                       0  368 Asbestos Personal                                                   0 835 Patent - Abbreviated                            0 460 Depo11a1ion
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            (Excludes Veterans)           0 345 Mari ne Product                          Liabil ity                                                          0 840 Trademark                                             Co1n1pt Organizati ons
    0   153 Recove,y of Overpayment               Liability                         PERSONAL PROPERTY                               H>AD
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            of Veteran 's Benefits        ~ 350 Motor Vehi cle                    0 370 Other Fraud               0 7 10 Fair Labor Standards                0 86 1 H1 A( l 395ff)                                 0 490 Cable/Sat TV
    0   160 Stockh olders' Suits          0 355 Motor Vehi cle                    0 37 1 Trut h in Le ndin g                Act                              0 862 Black Lung (923)                                0 850 Securit ies/Commodit ies/
    0   190 Other Contract                       Product Liability                0 380 Other Personal            0    720 Labor/Manage ment                 0 863 DIWC/DIWW (405(g))                                     Exc hange
    0   195 Contra ct Product Liability   0 360 Other Personal                           Propeny Damage                     Re lat ions                      0 864 SSID Title XVI                                  0 890 Other Statutory Acti ons
    0   196 Franchise                            Injury                           0 385 Propc1ty Damage            0   740 Railway Labor Act                 0 865 RS I (405(g))                                   0 891 Agri cultural Acts
                                          0 362 Personal lnjmy -                         Product Liability         0   751 Famil y and Medical                                                                     0 893 Environmental Matters
                                                 Medical Maloracti ce                                                       Leave Act                                                                              0 895 Freedom of In fonnati on
I      REAL PROPERTY                          CIVIL RIGHTS                         PRISONER PETITIONS             0    790 Other Labo r Litigation            FEDERAL TAX SUITS                                           Act
 0 210 Land Condemnati on                 0 440 Other Civi l Ri ghts                Habeas C orpus:               0    791 Empl oyee Retireme nt            0 870 Taxes (U.S. Plaintiff                            0 896 Arbitrati on
 0 220 Foreclosure                        0 44 1 Voting                           □ 463 Alien Detai nee                    Income Securit y Act                   or Defend ant )                                  □ 899 Admini strat ive Procedure
 0 230 Rent Lease & Ejectment             0 442 Employment                        0 5 10 Moti ons to Vaca te                                                0 871 IRS- Third Patty                                       Ac t/Rev iew or Appeal of
 0 240 Ton s to Land                      0 443 Housing/                                 Sentence                                                                 26 use 7609                                            Age ncy Decision
 0 245 Ton Product Liability                     Acco111111odatio ns              0 530 General                                                                                                                    □ 950 Co nstituti onali ty o f
 □ 290 All Other Real Property            □ 445 Amer. w/Di sa bilities -          0 535 Death Penalty                   IMMIGRATION                                                                                      State Statutes
                                                 Employment                         Other:                        a 462 Naturali za tion Applicati on
                                          0 446 Amer. w/Disabili ties -           0 540 Mandamus & Other          0 465 Other Immigration
                                                 Other                            0 550 Civil Rights                    Ac ti ons
                                          0 448 Education                         0 555 Pri son Condition
                                                                                  0 560 Civil Detainee •
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                                                                                         Confinement

    V. 0 RIG IN        (Place an "X .. in One I/ox Only)
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VI. CA USE OF ACTION i-=-28~U~.S~-~C~.-=-S-=-ec~t=io~n~1~3-=-32~a'--'-nd=-=2-=-8-=U-".S"".-=C-'. -- ' - 1 3 " " ' 9 ' " " 1 ' - - - - - - - - - - - - - - - - - - - - - - - - - -
                                              Brief descri p tion of ca use :


VII. REQUESTED IN     0                             CHECK IF THI S IS A CLASS                   ACTION                 DEMAND$                                           C H ECK YES on ly if d em anded in complaint :
     COMPLAINT:                                     UNDER R ULE 23 , F .R .Cv .P .                                       150,000.00                                      JURY DEMAND:                                  ~ Yes         □ No

VIII. RELATED CASE(S)
      IF ANY                                     (See i11s1ructio11.1):
                                                                                                                                                                DOC KET NUMBER




        RECEIPT #                   AMOUNT                                              APPL YING IF P                                         JUDGE                                              MAG . JUDGE
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                          ADDENDUM TO CIVIL COVER SHEET


Attorneys for Plaintiff

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Trevose, PA 19053
215-642-2335




4829-8064-6537 , V. 1
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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                      CASE MANAGEMENT TRACK DESIGNATION FORM

  JARED L. TAYLOR                                                            CIVIL ACTION

                        V.
  RYD ER TRUCK RENTAL, lNC ., et al.
                                                                             NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ 1.:03 of the plan set forth on the reverse
side of this fonn.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                  ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                           ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                              ( )

(f) Standard Management - Cases that do not fall into any one of the other tracks.                  ( X)



                                  Jeffrey A Krawitz
Date"                              Attorney-at-law

  267-907-9600                      267-907-9659                        j krawitz@stark-stark.com
Telephone                           FAX Number                           E-Mail Address


(Civ. 660) I 0/02
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                    IN THE UNITED ST ATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JARED L. TAYLOR                                  CIVIL ACTION NO.
346 Duvier Place
Maywood, NJ 07607,

                  Plaintiff,

       V.

RYDER TRUCK RENTAL INC.
11690 NW 105 Street
Miami , FL 33178,
and                                               JURY TRIAL DEMANDED
RYDER TRUCK RENTAL INC. D/B/A
RYDER TRANSPORTATION SERVICES
11690 NW 105 Street
Miami, FL 33178,
and
RYDER TRUCK RENTAL LT
11690 NW 105 Street
Miami, FL 33178,
and
RYDER SYSTEM, INC.
11690 NW 105 Street
Miami, FL 33178,
and
BREAK THE FLOOR PRODUCTIONS
LLC d/b/a NUVO
310 West 52 nd Street, #35A
New York, NY 10019,
and
NICHOLAS J. HENDERSON
56 Portland Street, Apt. 3
Portland, ME 04101,

                  Defendants.



                                CIVIL ACTION COMPLAINT


      NOW COMES Plaintiff JARED L. TAYLOR, by and through his undersigned counsel,
            Case 2:19-cv-01068-HB Document 1 Filed 03/13/19 Page 6 of 19



and brings the within action against defendants, and avers:

                                            PARTIES

       1.      Plaintiff JARED L. TAYLOR is an adult individual citizen and resident of the

State of New Jersey who resides therein at 346 Duvier Place, Maywood, New Jersey 07607.

       2.      Defendant RYDER TRUCK RENTAL INC. (hereinafter referred to as "Ryder

Inc."), is a Florida corporation duly authorized and registered to do business in the

Commonwealth of Pennsylvania with a principal place of business and/or registered corporate

address of at 11690 NW 105th Street, Miami, Florida 33178.

       3.      Defendant RYDER TRUCK RENTAL INC, doing business as RYDER

TRANSPORTATION SERVICES, hereinafter referred to as "Ryder Trans."), is a Florida

corporation duly authorized and registered to do business in the Commonwealth of Pennsylvania

with a principal place of business and/or registered corporate address of at 11690 NW 105th

Street, Miami, Florida 33178.

       4.      Defendant RYDER TRUCK RENTAL LT (hereinafter referred to as "Ryder

LT"), is a Delaware corporation and/or business trust, duly authorized and registered to do

business in the Commonwealth of Pennsylvania with a principal place of business and/or

registered· corporate address of 11690 NW 105th Street, Miami, Florida 33178.

       5.      Defendant RYDER SYSTEM, INC. (hereinafter referred to as "Ryder System"),

is a Florida corporation with a principal place of business and/or registered corporate address of

11690 NW 105th Street, Miami, Florida 33178.

       6.      Defendant BREAK THE FLOOR PRODUCTIONS LLC, doing business as

NUVO (hereinafter referred to as "Break-the-Floor"), is a New York corporation, with a
               Case 2:19-cv-01068-HB Document 1 Filed 03/13/19 Page 7 of 19



principal place of business and/or registered corporate address of 5446 Satsuma Avenue, North

Hollywood, California 9160 I.

       7.        Defendant NICHOLAS J. HENDERSON (hereinafter referred to as "Henderson")

is an adult individual citizen and resident of the State of Maine who upon information and belief

resides at 56 Portland Street, Apt.3, Portland, Maine 04101.

                                  JURISDICTION AND VENUE

       8.        There is complete diversity of citizenship and the amount in controversy in this

action exceeds $150,000.00 exclusive of interest and costs.

       9.        A substantial part of the events giving rise to this action occurred within the

Commonwealth of Pennsylvania.

        I 0.     Defendants, Ryder Inc., Ryder Trans., Ryder LT, and Ryder System, conduct

significant, systematic, ongoing and continuous business in the Eastern District of Pennsylvania.

       11.       Defendants, Ryder Inc., Ryder Trans., Ryder LT, and/or Ryder System, have

multiple physical business locations, offices and/or facilities in the Eastern District of

Pennsy Ivania.

        12.      Defendants, Ryder Inc., Ryder Trans., Ryder LT, and/or Ryder System maintain a

corporate office in Alburtis, Lehigh County, Pennsylvania, which is located within the Eastern

District of Pennsylvania.

        13.      Defendants, Ryder Inc., Ryder Trans., Ryder LT, and/or Ryder System maintain

business/retail establishments in, among other locations: Fairless Hills, Bucks County,

Pennsylvania; Philadelphia, Philadelphia County, Pennsylvania; King of Prussia, Montgomery

County, Pennsylvania; and Horsham, Montgomery County, Pennsylvania. All of these locations

are located within the Eastern District of Pennsylvania.
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       14.      Defendant Break-the-Floor conducts significant, systematic, ongoing and

continuous business in the Eastern District of Pennsylvania, including holding shows, events

and/or dance competitions in the Eastern District of Pennsylvania.

       15.      Defendants, Ryder Inc., Ryder Trans., Ryder LT, Ryder System, and Break-the-

Floor's business activities and contacts including tractor and trailer service, maintenance and

repairs, parts, labor, operating supplies, fuel and fueling, emergency road service, safety

programs, and other activities within Commonwealth of Pennsylvania, including the Eastern

District of Pennsylvania are directly related to the negligence averments set forth below.

       16.      Plaintiff resides in New Jersey and underwent most of his medical treatment in

New Jersey. The Eastern District of Pennsylvania is the most convenient venue for plaintiff.

       17.      Jurisdiction and venue are, therefore, properly placed with this Honorable Court

pursuant to 28 U.S.C. §§ 1332 and 1391.

                                   AGENCY ALLEGATIONS

        18.     At all times material to plaintiff's cause of action, defendant Henderson was the

operator, driver and/or in control of a certain tractor-trailer then and there operated by said

defendant.

        19.     At all times material to plaintiffs cause of action, defendants, Ryder Inc. , Ryder

Trans., Ryder LT, and/or Ryder System were the owners, possessors, maintainers and/or in

control of a certain tractor-trailer being then and there driven by defendant Henderson.

       20.      At all times material to plaintiff's cause of action, defendant Henderson was the

agent, servant, workman, subcontractor, and/or employee of defendants, Ryder Inc., Ryder

Trans. , Ryder LT, and/or Ryder System and then and there acting within the course and scope of

his authority and employment for and on behalf of said defendants.
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         21.     Upon information and belief, at all times material to plaintiffs cause of action

defendants, Break-the-Floor, Ryder Inc., Ryder Trans. , Ryder LT, and/or Ryder System were in

possession of the co-defendants' tractor and trailer involved in the collision.

         22.     All of the acts alleged to have been done or not to have been done by defendants

herein were done or not done by the defendants, their agents, servants, workmen and/or

employees acting within the course and scope of their employment and authority for and on

behalf of said defendants.

                             GENERAL FACTUAL ALLEGATIONS

         23.     At the time of the subject collision, Interstate 80 was a divided highway that

crosses the Commonwealth of Pennsylvania with at least two eastbound lanes and two

westbound lanes.

         24.     On March 27, 2017, at approximately 7:20 a.m., plaintiff was resting in the

sleeper berth of the tractor-trailer tandem being driven by defendant Henderson in the westbound

lanes of Interstate 80 in Richland Township, Clarion County, Pennsylvania.

         25.     At the same time and place, the tractor-trailer was caused to go off the right side

of the roadway striking and breaking through a guardrail, thereafter travelling down a steep

embankment where it struck several trees and landed on Metz Road, continuing thereafter up an

embankment where it came to rest.

         26.     The aforesaid collision caused the cargo of the trailer to break through the front of

the trailer crushing the cab and entrapping plaintiff.

         27.     As a result of the negligence, carelessness, and/or recklessness of defendants,

plaintiff suffered serious, painful and permanent personal injuries as more particularly described

below.
              Case 2:19-cv-01068-HB Document 1 Filed 03/13/19 Page 10 of 19




                                      COUNT!
                                    NEGLIGENCE
                   PLAINTIFF v. DEFENDANT NICHOLAS J. HENDERSON

        28.      Plaintiff repeats and re-alleges all previous allegations as if the same were fully

set forth at length herein.

        29.      The aforesaid collision and plaintiff's injuries were directly and proximately

caused by the negligence, carelessness, and/or recklessness of defendant Henderson and upon

information and belief consisted of the following:

                 a.      Failing to keep his vehicle under reasonable control;

                 b.      Failing to keep a proper lookout on the roadway;

                 c.      Failing to apply the brakes in time to avoid a loss of control;

                 d.      Failing to properly stop the commercial vehicle before it left the travel

        surface;

                 e.      Failing to remain alert and attentive under the circumstances;

                 f.      Failing to operate his vehicle within the posted speed limit;

                 g.      Failing to operate his vehicle at a reasonable speed under the

        circumstances;

                 h.      Carelessly driving the vehicle in violation of 75 Pa.C.S. § 3714;

                 1.      Failing to maintain the lane of travel in violation of 75 Pa.C.S. § 3309;

                 J.      Driving while distracted and in violation of 49 C.F.R. § 392.80 and 49

        C.F.R. § 392.82;

                 k.      Driving while impaired by a chemical substance in violation of 75 Pa.C.S.

     ___ _§}_8_02 and applicable federal commercial trucking regulations;
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                1.     Driving while ill or fatigued in violation of 49 C.F.R. § 392.3 and/or 49

       C.F.R. § 395.3;

                m.     Failing to properly inspect and maintain the vehicle for mechanical defect

       and/or safety issues, problems, and/or concerns in violation of 49 C.F.R. 392.7, and/or 49

       C.F.R. § 392.9, and/or 49 C.F.R. § 396.3, and/or 49 C.F.R. § 396.7, and/or 49 C.F.R. §

       396.9, and/or 49 C.F.R. § 396.13, and/or 49 C.F.R. § 396.17;

                n.     Failing to properly inspect and assure that the load was properly secured in

       violation of 49 C.F.R. § 391.13;

                o.     Failing to remove the vehicle from the roadway due to known mechanical

       defects and/or safety issues, problems, and/or concerns;

                p.     Otherwise failing to exercise due and proper care under the circumstances;

                q.     Failing to obey all applicable vehicle safety rules, regulations, and laws of

       the Commonwealth of Pennsylvania, the U.S. Department of Transportation, the Federal

       Motor Carrier Safety Administration, the U.S . Department of Labor, and the

       Occupational Safety & Health Administration regarding vehicle safety, inspections,

       maintenance, equipment, operation, driving, and driver fitness ;

                r.     Negligence per se for failing to obey the above-stated laws, rules and

       regulations; and

                s.     Negligence as a matter of law.

       30.      As a result of the aforesaid collision, plaintiff amongst other injuries sustained a

comminuted intra-articular fracture of the distal radius of the right forearm, anterior wedge

compression fracture of the CS vertebral body, non-displaced proximal left fibular fracture,
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widening of the C4-C5 joint suggestive ofligamentous injury, rib fracture, L2 transverse process

fracture, collapsed lung, concussion, forehead lacerations and TMJ damage.

       31.       As a result of the aforesaid collision, plaintiff has thus far undergone several

surgeries and procedures including, ORIF right distal radius comminuted fracture, surgical

management of the ulnar styloid fracture and application of plaster splint.

       32.       As a result of the collision, the plaintiff has thus far undergone great physical pain

and mental anguish and he may continue to endure the same for an indefinite time in the future,

to his great detriment and loss.

       33.       As a result of the collision, the plaintiff has been compelled to expend large sums

of money for medicine and medical care and attention in an effort to affect a cure of his injuries,

and he may be compelled to continue to expend such sums for the same purposes for an

indefinite time in the future, to his great detriment and loss.

        34.      As a result of the collision, the plaintiff has been unable to attend to his usual

daily duties and occupation and he may be unable to attend to the same for an indefinite time in

the future, to his great detriment and loss.

        35.      As a further result of the collision, the plaintiff has suffered a loss and

depreciation of his earnings and earning capacity and power and he may continue to suffer the

same for an indefinite time in the future to his great detriment and loss.

       36.       As a further result of this collision, plaintiff also suffered a cosmetic

disfigurement which is permanent, irreparable and severe.

        WHEREFORE, Plaintiff demands judgment in his favor and against Defendant

Henderson an amount in excess of one hundred fifty thousand ($150,000) dollars, sufficient to

compensate him for his past, present and future pain and suffering, embarrassment and
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humiliation, loss of ability to enjoy the pleasures of life, disfigurement, wage loss, income loss,

future earning capacity, past medical expenses, future medical expenses, outstanding liens, future

medical liens, out-of-pocket expenses, compensatory damages, delay damages, punitive

damages, together with interest, costs of suit, and such further relief as this Court deems just and

appropriate.

                               COUNT II
                             NEGLIGENCE
                       PLAINTIFF v. DEFENDANTS,
      RYDER TRUCK RENTAL INC, RYDER TRUCK RENTAL INC. d/b/a
     RYDER TRANSPORTATION SERVICES, RYDER TRUCK RENTAL LT,
 RYDER SYSTEM, INC., and BREAK THE FLOOR PRODUCTIONS LLC d/b/a NUVO

        37.      Plaintiff repeats and re-alleges all previous allegations as if the same were fully

set forth at length herein.

        38.      Upon information and belief, defendants Ryder Inc. , Ryder Trans., Ryder LT,

Ryder System, and Break-the-Floor qualified the operators of their commercial vehicles

including the tractor-trailer that was involved in the above-stated collision.

        39.      Upon information and belief, defendants Ryder Inc. , Ryder Trans. , Ryder LT,

Ryder System, and Break-the-Floor hired and qualified defendant Henderson as their agent,

employee, and/or contractor/subcontractor to drive the tractor-trailer that was involved in the

above-stated collision.

        40.      Upon information and belief, defendants Ryder Inc. , Ryder Trans., Ryder LT,

Ryder System, and Break-the-Floor trained defendant Henderson as their agent, employee,

and/or contractor/subcontractor regarding the maintenance and operation of the tractor-trailer

that was involved in the above-stated collision.

        41 .     Upon information and belief, defendants Ryder Inc. , Ryder Trans. , Ryder LT,

Ryder System, and Break-the-Floor supervised defendant Henderson as their agent, employee,
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and/or contractor/subcontractor in conjunction with his operation of the tractor-trailer that was

involved in the above-stated collision.

        42.     Upon information and belief, defendants Ryder Inc. , Ryder Trans., Ryder LT,

Ryder System, and Break-the-Floor retained defendant Henderson as their agent, employee,

and/or contractor/subcontractor in conjunction with his operation of the tractor-trailer that was

involved in the above-stated collision.

        43.     Upon information and belief, defendants Ryder Inc. , Ryder Trans., Ryder LT,

Ryder System, and Break-the-Floor permitted defendant Henderson as their agent, employee,

and/or contractor/subcontractor to operate the tractor-trailer that was involved in the above-stated

collision.

        44.     Surrounding the time of the above-stated collision, Defendant, Henderson was

incapable of safely operating the tractor-trailer involved in the in the above-stated collision.

        45.     Upon information and belief, defendants Ryder Inc. , Ryder Trans. , Ryder LT,

Ryder System, and Break-the-Floor controlled the use and operation of the tractor-trailer that

defendant Henderson was driving surrounding the time of the above-stated collision.

        46.     Upon information and belief, surrounding the time of the above-stated collision,

defendants Ryder [nc. , Ryder Trans. , Ryder LT, Ryder System, and Break-the-Floor loaded,

secured, and inspected the cargo of the tractor-trailer that was involved in the above-stated

collision.

        4 7.    Upon information and belief, defendants Ryder Inc. , Ryder Trans., Ryder LT,

Ryder System, and Break-the-Floor provided service, maintenance, repairs, parts, labor,

operating supplies, fuel and fueling, emergency road service, safety programs, and other

activities in conjunction of the tractor-trailer that was involved in the above-stated collision.
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        48.      Defendants Ryder Inc., Ryder Trans., Ryder LT, Ryder System, and Break-the-

Floor owed the general public, including plaintiff, an ongoing duty to determine and monitor the

qualifications and safety of its drivers.

        49.      Defendants Ryder Inc. , Ryder Trans., Ryder LT, Ryder System, and Break-the-

Floor owed the general public, including plaintiff, an ongoing duty to ensure that at all times, the

cargo being carried by the truck and trailer was properly loaded, secured, and safe.

        50.      Defendants Ryder Inc. , Ryder Trans., Ryder LT, Ryder System, and Break-the-

Floor owed the general public, including plaintiff, an ongoing duty to ensure that at all times, the

vehicle was properly inspected, serviced, maintained, and operating in a safe mechanical

condition.

        51.      The aforesaid collision and plaintiff's injuries were directly and proximately

caused by the negligence, carelessness, and/or recklessness of defendants Ryder Inc. , Ryder

Trans., Ryder LT, Ryder System, and Break-the-Floor and consisted of the following:

                 a.     Failing to properly hire, train, retain, and supervise employees and/or

        subcontractors who were capable of safely operating a commercial motor vehicle;

                 b.     Permitting a driver to operate its commercial motor vehicle who was

        incapable of safely operating a commercial motor vehicle or was unfit to do so;

                 c.     Permitting a driver to operate its commercial motor vehicle who was not

        qualified to operate a commercial motor vehicle and/or in violation of C.F.R. § 391 ,11;

        and/or 49 C.F.R. § 391.51;

                 d.     Entrusting the use of a commercial motor vehicle to a driver who

        defendant knew or should have known was not capable of operating the commercial
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motor vehicle in a safe and careful manner or was likely to use the vehicle in a manner so

as to create an unreasonable risk of harm to other persons;

       e.      Failing to properly supervise, direct, limit, and/or control the use of the

commercial motor vehicle;

       f.      Failing to exercise a reasonable degree of care for the supervision and

operation of the commercial motor vehicle and any driver who was utilizing the vehicle;

       g.      Requiring the driver to conform to a schedule that would require the motor

vehicle to be operated at speeds greater than those permitted by law in violation of 49

C.F.R. § 392.6;

       h.      Failing to properly inspect and maintain the vehicle for mechanical defects

and/or safety issues, problems, and/or concerns and/or in violation of 49 C.F.R. § 392.7,

and/or 49 C.F.R. § 392.9, and/or 49 C.F.R. § 396.3 , and/or 49 C.F.R. § 396.7, and/or 49

C.F.R. § 396.9, and/or 49 C.F.R. § 396.13 , and/or 49 C.F.R. § 396.17;

       1.      Failing to properly inspect and assure that the load was properly secured

and/or in violation of 49 C.F.R. § 391.13 ;

       J.      Respondeat superior and responsibility for acts and omissions of its driver,

who was an agent, servant, workman, sub-contractor, and/or employee of defendant;

       k.      Failing to exercise due care under the circumstances.

       1.      Failing to obey all applicable vehicle safety rules, regulations, and laws of

the Commonwealth of Pennsylvania, the U.S. Department of Transportation, the Federal

Motor Carrier Safety Administration, the U.S. Department of Labor, and the

Occupational Safety & Health Administration regarding vehicle safety, inspections,

maintenance, equipment, operation, driving, and drivers; and
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                 m.     Negligence per se for failing to obey the above-stated laws, rules, and

       regulations.

        52.      As a result of Ryder lnc.'s, Ryder Trans. ' s, Ryder LT's, Ryder System, and

Break-the-Floor's negligence, carelessness, and/or recklessness by its decision not to vet its

drivers, not to train its drivers in their inherently dangerous work, and not to develop or enforce

appropriate guidelines consistent with prevailing safety standards and applicable law, Ryder Inc.,

Ryder LT, Ryder System, and Break-the-Floor are liable for damages caused to the plaintiff

under applicable law.

        53.      As a further result of Ryder Inc. 's, Ryder Trans. 's, Ryder LT's, Ryder System 's,

and Break-the-Floor' s negligence, carelessness, and/or recklessness in this regard, plaintiff

sustained injuries to his head, neck, back, body and limbs, their bones, cells, nerves, tissues,

muscles and functions, including but not limited to a comminuted intra-articular fracture of the

distal radius of the right forearm, anterior wedge compression fracture of the CS vertebral body,

non-displaced proximal left fibular fracture, widening of the C4-C5 joint suggestive of

ligamentous injury, rib fracture, L2 transverse process fracture, collapsed lung, concussion,

forehead lacerations and TMJ damage.

       54.       As a result of the aforesaid collision, plaintiff has thus far undergone several

surgeries and procedures including, ORIF right distal radius comminuted fracture , surgical

management of the ulnar styloid fracture and application of plaster splint.

       55.       As a result of the collision, the plaintiff has thus far undergone great physical pain

and mental anguish and he may continue to endure the same for an indefinite time in the future,

to his great detriment and loss.
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        56.    As a result of the collision, the plaintiff has been compelled to expend large sums

of money for medicine and medical care and attention in an effort to affect a cure of his injuries,

and he may be compelled to continue to expend such sums for the same purposes for an

indefinite time in the future, to his great detriment and loss.

        57.    As a result of the collision, the plaintiff has been unable to attend to his usual

daily duties and occupation and he may be unable to attend to the same for an indefinite time in

the future, to his great detriment and loss.

        58.    As a further result of the collision, the plaintiff has suffered a loss and

depreciation of his earnings and earning capacity and power and he may continue to suffer the

same for an indefinite time in the future to his great detriment and loss.

        59.    As a further result of this collision, plaintiff also suffered a cosmetic

disfigurement which is permanent, irreparable and severe.

        WHEREFORE, Plaintiff demands judgment in his favor and against Defendants Ryder

Inc., Ryder Trans., Ryder LT, Ryder System, and Break-the-Floor an amount in excess of one

hundred fifty thousand ($150,000) dollars, sufficient to compensate him for his past, present and

future pain and suffering, embarrassment and humiliation, loss of ability to enjoy the pleasures of

life, disfigurement, wage loss, income loss, future earning capacity, past medical expenses,

future medical expenses, outstanding liens, future medical liens, out-of-pocket expenses,

compensatory damages, delay damages, punitive damages, together with interest, costs of suit,

and such further relief as this Court deems just and appropriate.
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                                 JURY DEMAND

Plaintiff hereby demands a trial by jury on all issues.



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